
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SHEARS2022 OK 61Case Number: SCBD-7267Decided: 06/20/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 61, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

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State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Jack Lee Shears, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), forwarded to this Court certified copies of the following: (1) Information, charging Respondent with count 1 Driving Under the Influence of Alcohol Aggravated in violation of 47 O.S. § 11-90237A O.S. § 6-101Deferment pursuant to plea of nolo contendere to the misdemeanor crime of Driving Under the Influence of Alcohol Aggravated, along with Exhibit A listing the Court Ordered fines, costs and District Attorney Supervision Order; and (3) Application to Accelerate Deferred Judgment in the State of Oklahoma v. Jack Lee Shears, in the District Court of Kay County, CM-2021-27.

¶2 On March 2021, Respondent entered a plea of nolo contendere to Driving a Motor Vehicle Under the Influence of Alcohol Aggravated in violation of 47 O.S. § 11-902Application to accelerate judgment alleging that Respondent violated the terms and conditions of his probation on four separate instances.

¶3 RGDP 7.3 provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, and in view of the prior conduct resulting in discipline, this Court orders that Jack Lee Shears is immediately suspended from the practice of law. Jack Lee Shears is directed to show cause, if any, no later than July 5, 2022, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until July 20, 2022, to respond.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4, Jack Lee Shears has until August 4, 2022, to show cause in writing why a final order of discipline should not be made. The written return of the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his conduct or by way of mitigating the dicipline to be imposed upon him, submit a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until August 19, 2022, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT in conference on June 20, 2022.


/S/CHIEF JUSTICE


Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs and Kuehn, JJ., concur;

Gurich and Rowe, JJ., dissent.






